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                                                                                                         U.S. DISTRICT COURT
                                                                                                             N.D. OF ALABAMA


                                                June 26, 2023

Sent via email

Legislative Committee on Reapportionment
Room 303, State House
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          Re:      VRA Plaintiffs’ Remedial Plan

Dear Reapportionment Committee Members,

        Evan Milligan, Shalela Dowdy, Letetia Jackson, Khadidah Stone, Greater Birmingham
Ministries, and the Alabama State Conference of the NAACP (collectively, the “Milligan
Plaintiffs”) and Marcus Caster, Lakeisha Chestnut, Bobby L. Dubose, Benjamin Jones, Rodney A.
Love, Manasseh Powell, Ronald Smith, and Wendell Thomas (collectively, the “Caster Plaintiffs”)
jointly submit the attached remedial plan.

       As you know, on June 8, 2023, the Supreme Court of the United States ruled in favor of
both the Milligan and Caster Plaintiffs in holding that Alabama’s 2021 congressional redistricting
plan (“HB1”) violated Section 2 of the Voting Rights Act (“VRA”). No other group of Plaintiffs
has successfully challenged HB1. Because the Alabama Legislature’s enactment of this plan
(hereinafter, the “VRA Plaintiffs’ Remedial Plan” or “VRA Plan”) would likely resolve the
pending lawsuit, we urge the Committee to give careful consideration to our VRA Plan.

        In affirming the three-judge district court’s preliminary injunction against HB1, the
Supreme Court upheld the district court’s findings that “Black Alabamians enjoy virtually zero
success in statewide elections; that political campaigns in Alabama had been characterized by overt
or subtle racial appeals; and that Alabama’s extensive history of repugnant racial and voting-
related discrimination is undeniable and well documented.” 1 The Court also held that the district
court had “faithfully applied our precedents and correctly determined that . . . HB1 violated §2.” 2

       The Supreme Court also affirmed the findings that “elections in Alabama were racially
polarized”; “on average, Black voters supported their candidates of choice with 92.3% of the vote



1
    Allen v. Milligan, No. 21–1086, slip op. at 14 (2023) (internal citation and quotation marks omitted).
2
    Id. at 15.
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while white voters supported Black-preferred candidates with 15.4% of the vote”; and, according
to all the trial experts, racial polarization in Alabama is “intense, very strong, and very clear.” 3

        Given the extreme degree of racially polarized voting in Alabama, the trial court’s
preliminary injunction order, which was upheld by the Supreme Court, emphasized the “practical
reality” that “any remedial plan will need to include two districts in which Black voters either
comprise a voting-age majority or something quite close to it.” 4 For this reason, any plan that
proposes remedial districts in which Black voters constitute less than “a voting-age majority or
something quite close to it” almost certainly will not conform to the district court’s order. 5

         The VRA Plaintiffs’ Remedial Plan carefully adheres to the decisions of both the United
States Supreme Court and the federal district court. The VRA Plan contains two districts that
“perform” consistently for Black voters in primary and general elections. 6 It also remedies the
cracking of the Black Belt community of interest, identified by the courts, by keeping the eighteen
“core” Black Belt counties together within these two remedial districts, does not split Montgomery
County or any other core Black Belt county, has zero population deviation, splits only seven
counties and only ten precincts, 7 and is otherwise “guided by the legislative policies underlying
[HB1] to the extent those policies do not lead to violations of the Constitution or the Voting Rights
Act.” 8 For instance, Districts 3, 4, 5, 6 and 7 largely maintain the “cores” of those districts as drawn
by the Legislature in HB1, and Districts 1 and 2 reflect modest changes necessary to bring Alabama
into compliance with the VRA. Indeed, the overall “core retention” percentage of the VRA
Plaintiffs’ Remedial Plan is over 80%. In further deference to the Legislature’s past policy choices,
the VRA Plan splits Jefferson County in essentially the same manner as HB1 and it splits Mobile
County similar to the way in which the Legislature did so in its enacted 2021 State Board of
Education plan. Finally, the VRA Plaintiffs’ Remedial Plan is based on the Plaintiffs’ illustrative
plans—including “Cooper Illustrative Plan 2” and “Duchin Illustrative Plan A,” which the
Supreme Court identified as legally acceptable remedies—but makes specific changes to better
reflect legislative choices like limiting the number of county splits and protecting district cores. 9

       For these reasons, the Milligan and Caster Plaintiffs strongly and respectfully urge the
Legislature to adopt our plan. If you have any questions, please contact us through our attorneys.



3
  Id. at 14 (internal citation and quotation marks omitted).
4
  Milligan v. Merrill, 582 F. Supp. 3d 924, 936 (N.D. Ala. 2022) (three-judge court).
5
  On behalf of the Secretary of State and the Chairs of this Reapportionment Committee, political scientist
Dr. M.V. Hood testified at the preliminary injunction hearing that a “Whole County Plan” or similar plan
with a 40% Black “opportunity district” centered on an intact Jefferson County would not provide Black
voters with an opportunity to elect their candidate of choice as required by the VRA. See Milligan, Doc.
66-4 at 14. And another court recently ordered the division of the county school board into single-member
districts to remedy a VRA violation and address persistent racial polarization in Jefferson County. See Jones
v. Jefferson Cnty. Bd. of Educ., No. 2:19-cv-01821, 2019 WL 7500528, at *2–4 (N.D. Ala. Dec. 16, 2019).
6
  See, e.g., Abbott v. Perez, 138 S. Ct. 2305, 2332–33 (2018); Abrams v. Johnson, 521 U.S. 74, 94 (1997).
7
  With modest adjustments, the number of precinct or VTD splits in the VRA Plaintiffs’ Plan could be
reduced to seven, the same number of VTDs split by HB1.
8
  Perry v. Perez, 565 U.S. 388, 941 (2012) (citation and internal quotation marks omitted).
9
  See, e.g., Milligan, slip op. at 12, 33-34.
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       Sincerely,


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